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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

 WYNDHAM VACATION OWNERSHIP,
 INC., et al.,

                  Plaintiffs,                                   Case No. 8:19-cv-1895-T-36CPT
 v.

 THE MONTGOMERY LAW FIRM, LLC,
 et al.,

             Defendants.
 ___________________________________/

                                                    ORDER

         This matter is before the Court sua sponte. On February 21, 2020, the Court issued an

 Order directing attorney Robert M. Ward to show cause as to why his pro hac vice privilege should

 not be revoked based on his behavior on January 30, 2020, on the first floor of the Sam M. Gibbons

 United States Courthouse. Doc. 249. On March 6, 2020, attorney Ward filed a written response

 (Doc. 253) to the Court’s Show Cause Order. Pursuant to attorney Ward’s request, the Court

 planned to schedule an in-person evidentiary hearing on the matter once it was safe to do so.1

 Attorney Ward has now withdrawn as counsel in this case. See Docs. 299, 300. Therefore, the

 Court will discharge the Order to Show Cause because the issue is moot. Accordingly, it is hereby

         ORDERED that the February 21, 2020 Show Cause Order (Doc. 249) is DISCHARGED.

         DONE and ORDERED in Tampa, Florida on July 31, 2020.




 Copies to: Counsel of Record
 Unrepresented Parties

 1
  On March 11, 2020, the World Health Organization declared COVID-19 a pandemic. In the interests of public safety
 and the health of all participants, in-person hearings have been limited due to the pandemic.
